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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                    )                CASE NO. 4:05CR3082
                                             )
                    Plaintiff,               )
                                             )            MEMORANDUM AND ORDER
v.                                           )
                                             )
LUIS F. NUNEZ,                               )
                                             )
                    Defendant.               )

       There being no objection by the plaintiff,

       IT IS ORDERED that:

       (1)    Luis Nunez’ motion filed on December 4, 2006, to release compliance bond,

is granted.

       (2)    The Clerk of Court shall refund the $5,000 cash bond and send same to Myra

Meza, 1620 E. McMillan St., Compton, CA 90221.

       (3)      The Clerk of Court shall mail a copy of this order to Luis Nunez.

       DATED this 15th day of December, 2006.

                                            BY THE COURT


                                            s/David L. Piester
                                            David L. Piester
                                            United States Magistrate Judge
